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                  EXHIBITC
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                                                             Page 2 of 24 PageID: 10




  STERN LA VINTHAL & FRANKENBERG LLC
   IOS Eisenhower Parkway • Suite 302
  Roseland, NJ 07068 ·
  (973) 797-1100
  Attorneys for Plaintiff
  Djibril Carr, Esq.: 118012014
  201902173

  CITIGROUP MORTGAGE LOAN TRUST INC..                         SUPERIOR COURT OF NEW JERSEY
  ASSET-BACKED PASS-THROUGH                                   CHANCERY DIVISION
  CERTIFICATES, SERIES 2007-AMC2, U.S. BANK                   BURLINGTON COUNTY
  NATIONAL Al' SOCIATION, AS TRUSTEE
                                                              DOCKET NO.: F-020437-19
                                    Plaintiff
                          vs.                                                       CIVIL ACTION

  JOHN BARRY, JR.; edal.                                                              SUMMONS

                  I             I   Defendant s
                 I      I
  From The State of New 1crsey
  Name of the Defendant(&) to be served:

  JOHN BARRY L R. A~D MRS. JOHN BARRY, JR., HIS WIFE
  Address of the Defendant(s) to be served:
  232 AMHERST AVE
  PEMBERTON, NJ 08068
                                                  .
            The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
  to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written answer or
  motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days from the date
  you received this summons, not counting the date you received it. lfthe complaint js one io foreclosure. then you must file your
  written answer or motjoh and proof of service with the Clerk of the Supe,ior Coun, Hughes Justice Complex, CN-27 t, Trenton,
  NJ 08625, A S175.00 filing fee payable to the Clerk of the Superior Court and a completed Case Information Statement (available
  from the deputy clerk of the Superior Court) must accompany your answer or motion when it is tiled. You must also send a copy
  of your answer or motion to plaintiff's attorney whose name and address appear above. or to plaintiff, if no attorney is named
  above. A telephone call will not protect your rights; you must file and serve a written answer or motion (with fee and completed
  Case Information State~nt) if you want the court to hear your defense.
                            !
            If you do not file and serve a written answer or motion within 3S days, the court may enter a judgment against you for

  wages or pro pet
  the reliefplaintiffdemartds, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your money,
                     to pay. all or part of the judgment.

            If you ~nnot afford an attorney, you may call the Legal Services office in the county where you live. A list of these
  offices is provided. lfypu do not have an attorney and are not eligible for free legal assistance, you may obtain a referral to an
  attorney by callii g one o1 the Lawyer Referral Services. A list of these numbers is also provided.

                                                  Isl Michelle M Smith
                                                  Michelle M. Smith,
                                                  Clerk of the Superior Court
  DATED: December 19, 2019
                      I



                                THIS COMMUNICATION IS AN ATTEMPT TO COLLECT A DEBT AND
                                ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE
                                                             -   -   ~ - - - -- --   - --   -

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      STERN LAVINTHAL & FRANKENBERG LLC
      105 Eisenho~er Parkway - Suite 302
              I      '
      Roseland, NJ 07068
      (973) 797-1100
      Attorneys for Plaintiff
      Djibril Carr, Esq.: J18012014
      201902173

      CITIG~OUP ~ORTGAGE LOAN TRUST                 SUPERIOR COURT OF NEW JERSEY
      INC. A~SET-~ACKED PASS-THROUGH                CHANCERY DIVISION
      CERTifICA1fES, SERIES 2007-AMC2, U.S.         BURLINGTON COl INTY
      BANK ~ATIONAL ASSOCIATION, AS
      TRUS1]EE                                      DOCKET NO.:

                                   Plaintiff                         CIVIL ACTION

                            vs .                                     MORTGAGE
              iI                                         FORECLOSURE COMPLAINT
      JOHN 1;3ARRY, JR.; MRS. JOHN BARRY,
      JR., HI~ WIFE; MARIE A. BARRY; JOHN
      WESLftY BA;RR Y; PROSPERITY UNITED
      TRUS1l; UNITED STATES OF AMERICA;
              I     '                           •

      OCEAN MEDICAL CENTER; AMERICAN
      EXPRESS NtTIONAL BANK and STATE
      OF NEW JERSEY
                    I

                                   Defendants
              I
            CITIGROUP MORTGAGE LOAN TRUST INC. ASSET-BACKED PASS-THROUGH
              I     ,
      CERTI~ICAi ES, SERIES 2007-AMC2, U.S. BANK NATIONAL ASSOCIATION, AS
                        I

      TRUSTEE, w1th an office at 1000 TECHNOLOGY DRIVE, O'FALLON, MO 63368, the plaintiff
                        '
      in the above e~titled cause, says:
                        '
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                                                     FIRST COUNT

              · 1. On the date set forth in 1-a following, the obligor(s) named in 1-b following, in the sum set

         forth in 1-d following executed to said obligee so named in 1-c following, an obligation, bond/note,

         dateq the date set forth in 1-a following, to secure the sum set forth in 1-d following, payable on the

         date set forth in 1-f following, with interest at the rate per annum set forth in 1-e following, payable as

         set forth in 1-g following:
              !
                  1-a. Date: October 6, 2006

                  1-b. ~bligor(s): JOHN BARRY, JR.
               1

                  1-c. Obligee: ARGENT MORTGAGE COMPANY, LLC

               ,1-d. Amount of Obligation: $160,000.00
               I1-e. Per annum interest rate:   6.800%

                  1-f. Due date ofObligatlon: November 1, 2036
                  I
                  1-g. Manner of payment of Obligation: By the payment of the initial sum of $1043.09 per

         month in equal monthly installments for interest and principal commencing on December 1, 2006

         and continuing on the first day of each month thereafter, with a final installment of all accrued

         and unpaid interest and any unpaid principal on or before November 1, 2036.

                  lrh, T~e note and mortgage do not contain a pre-payment penalty clause.
                         I


         1-i. A Loan Modification Agreement between JOHN BARRY, JR. and CJTIMORTGAGE, INC

         was dated on May 25, 2011 changing the principal balance to $173,923.98, the interest rate to
               I     !
         3.800% from the Ist day of June, 2011, the monthly payment of principal and interest to $887 .87

         beginning on the Ist day of July, 2011. The interest rate to 4.625% from the 1st day of June, 2016, the
                I      !
         monthly paym~nt of principal and interest to $954.78 beginning on the 1st day of July, 2016, and the

         maturity date to November I, 2036.
                             \
                                                              2
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            2.1 To s~cure the payment of the aforesaid obligation, the obligor(s), named in paragraph 1-b

      above, and mortgagor(s), JOHN BARRY, JR. and MARJE A. BARRY, executed to ARGENT
              !       '
              I
      MORTGAGE! COMPANY, LLC, (hereinafter, Mortgagee), mortgage of even date with said
              !                    .
              I
      obligati9n, an~ thereby conveyed to the Mortgagee in fee the land hereinafter described, on the
              I
      express f onditfon that such conveyance should be void if payment should be made at the time and

      times, af d in tpe manner described in said obligation. Said mortgage was duly recorded on the date

      set forth!in 2-~ following, in the County Office set forth in 2-b following, and in the County Mortgage
              I
      Book set forth iin 2-c following:
              I      ;
              I       .
              I       I
            2r      Dr e mortgage was recorded: November 2, 2006

            2ib. C?unty Office where mortgage was recorded: Clerk/Register of Burlington County.
              i
            2-:e.   Mortgage Book 11176, Page 334

            2-d.     Said obligation an~ mortgage were assigned to MORTGAGE ELECTRONIC

            REGISTRATION SYSTEMS INC AS NOMINEE FOR CITIMORTGAGE, INC. by

            written assignment dated February 18, 2009 and of record on February 24, 2009 in the

            Office df the Clerk/Register of Burlington County in Assignment Book ER-78, Page 565.

             2,-e. Said obligation and mortgage were further assigned to CITIMORTGAGE, INC by

            ,1i1ten t ssignment dated July 19, 2012 and of record on August 3, 2012 in the Office of the

            Clerk/Register of Burlington County in Assignment Book OR-13023, Page 881.
              !      !

            2ff. Saitl obligation and mortgage were further assigned to CITIGROUP MORTGAGE LOAN
              .      I
            TRUST1INC. ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2007-AMC2,

            U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE by written assignment dated

            Deceml:ier 2, 2014 and of record on December 16, 2014 in the Office of the Clerk/Register of
                     I
            Burlin1on County in Assignment Book OR-13152, Page 2769.
                     I
                                                         3



                                                 ------------------ --                                          . ...   _
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              3. The mortgaged premises are described as follows:

              See Schedule "A" annexed hereto and made a part hereof. The Metes and Bounds description is

      from thf mo~gage that is the subject of this foreclosure.

              3-a. Plaintiff is the HOLDER of the Note and Mortgage.

              3-b. This is not a Purchase Money Mortgage.

      3-c. Through inadvertence, a scrivener's error was committed in the Ist course of the metes and

      bounds ldescription slaling dislance as 8S degrees. Whereas, lhe Isl course in the meles and bounds

      description should state distance as 85 feet.

      3-d. John Barry, Jr. is also known as John Barry but has been designated herein as John Barry, Jr.

              4 The!obligation aforesaid contained an agreement that if any installment payment of interest

      and principal, taxes and insurance premiums should remain unpaid for thirty (30) days after the same

      shall fall due, the whole principal sum, with all unpaid interest and late charges, if any, should at the

      option of the above named mortgagee or its heirs, executors, administrators, representatives or

      assign,j beco'i'e immedialely due and payable.                                        .

              5. Thej following instruments appear of record which affect or may affect the premises

      described in Pr'mgraph 3 above, all of which instruments are subordinate to the lien of the mortgage
                      '
      set   fort, in pargraph 2 above:
                ~) ~e present marital status of JOHN BARRY, JR. cannot be ascertained and defendant,
                MRS. lJOHN BARRY, JR., HIS WIFE, the unknown spouse of JOHN BARRY, JR., is
                      I
                hereby named for any interest or right he/she may hold in the property. Any title interest,

                dower/curtesy or possessory right, if any, acquired by MRS. JOHN BARRY, JR., HIS

                WIFE was subsequent to the subject mortgage. Any interest or right she/he has in such




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                 property is subordinate and subject to the aforesaid mortgage. MRS. JOHN BARRY, JR.,

                 HJS WIFE is made a party defendant by virtue thereof.

                 b) B~ Deed dated May 21, 2019, JOHN BARRY conveyed the premises described in

             :Paragraph 3 above to JOHN WESLEY BARRY AS TRUSTEE FOR PROSPERITY
             ;

             UNlTED TRUST, which Deed is of record on June 17, 2019 in the Office of the

             perk/Register of the county of Burlington in Deed Book OR-13392, Page 6014. JOHN

             WESLEY BARRY is made a party defendant by virtue thereof.

             ~) By.Deed dated May 21, 2019, JOHN BARRY conveyed the premises described in

             Paragraph 3 above to PROSPERITY UNITED TRUST, which Deed is of record on June

                 11, 2019 in the Office of the Clerk/Register of the county of Burlington in Deed Book OR-
                 13392, Page 6014. PROSPERITY UNITED TRUST is made a party defendant by virtue
                 '
             thereof.

             d~ UNITED STA TES OF AMERICA is made a party defendant hereto by virtue of a

             certain Notice of Federal Tax Lien dated May 20, 2016 against JOHN BARRY, JR. AND

             J\1ARIE:BARRY of record on May 31, 2016 in the Office of the Clerk/Register of

             Burlingtpn in Book OR-13224, Page 1739 in the sum of$125,005.37, a copy of which is

             annexed1hereto and made a part hereof. UNITED STATES OF AMERICA is made a party

             defend ant by virtue thereof.

             e) ! On Jtily 14, 2008 a judgment was entered in the Superior Court of New Jersey (No. DJ

                 160897 2008) in favor of OCEAN MEDICAL CENTER and against JOHN BARRY in

             the sum c,f $591.34, plus costs. OCEAN MEDICAL CENTER is made a party defendant

             by virtue thereof.
                     I    :




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               '
               t) 0 n March 22, 2017 a judgment was entered in the Superior Court of New Jersey (No.
               1·_




               I



               DJ 041329 2017) in favor of AMERICAN EXPRESS BANK FSB and againstJ. BARRY

               in the sum of$9,253.56, plus costs. AMERICAN EXPRESS BANK FSB JS NOW

               KNO~ AS AMERICAN EXPRESS NATIONAL BANK. AMERICAN EXPRESS

              NATIONAL BANK is made a party defendant by virtue thereof.
               I       .
               i               .
              $)     On January 23, 2019 a judgment was entered in the Superior Court of New Jersey (No.

              PD 012068 2019) in favor of OFFICE OF THE PUBLIC DEFENDER and against JOHN

               BARRY in the sum of $150.00, plus costs. STATE OF NEW JERSEY is made a party

              defen9ant by virtue thereof.

              ~- Pursuant to the terms of the obligation referred to in paragraph I above (the terms of which

       are incarporated in the mortgage referred to in paragraph 2 above), the obligee named in said
               I




       obligati~n reserved the right to p~y taxes or other liens affecting the premises herein described, which

       liens are superior to the lien of the mortgage referred to in paragraph 2 above and which liens, when

       paid by the obligee or assignee, together with interest thereon as provided in said obligation and

       mortgage, are ·to be added to the amount due on the obligation and mortgage. The obligee may be

       required to pay such liens and/or insurance and necessary expenses to preserve the security during the
               I       :


       pcndency of this action and will demand that such payments so made by said obligee or assignee

       together with interest be added to the mortgage debt as aforesaid and secured by the Plaintiff's

       mortgage.

              6-a. Said note and mortgage further provide that the Obligee may collect a late charge not to

       exceed 5% for each dollar of each payment more than 15 days in arrears to cover an extra charge in

       handling delinquent payments.




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                17. By the tenns of the obligation and mortgage referred to in paragraphs I and 2 above,
        Plaintiff herein has the right to foreclose under the terms of the mortgage.

                ;8.      By the tenns of the obligation and mortgage referred to in paragraphs l and 2 above, an

        instalJJent
                I
                    p~yment of principal and interest, taxes and insurance became due on 2/1/2019. Said

        installment payment and all subsequent monthly installment payments have not been paid. The

       defend,nts named in paragraph 1-b above, or the grantee or grantees, if any, of said defendants, are in

        default having failed, refused or neglected to make said payments to the plaintiff herein as required.

        Plaintiff herein, by reason of said default elected that the whole unpaid principal sum due on the

        aforesaid obligation and mortgage referred to in paragraphs I and 2 above with all unpaid interest and
               !
        advances made thereon shall now be due.

                8-a.          The obligor has failed to make the installment payment due on 2/1/2019, and all

               Ipayments becoming due .thereafter, therefore the loan is in default.

                9.           Any interest or lien on the premises described in paragraph 3 above which the

        mortgagors named in paragraph 2 above or the grantees of said mortgagors, or which subsequent

       encum~rances or lien holders, if any, named in paragraph 5 above, who are the defendants herein

        have or claim to have in or upon the aforesaid mortgaged premises or some part thereof are subject

        and surordinate to the lien of the mortgage set forth in paragraph 2 above, which mortgage is held by

        the plaintiff herein.

                   JO.   1
                             At least 30 days prior to filing the Complaint, plaintiff complied with the notice

        requir~ment of Section 4 of the New Jersey Fair Foreclosure Act.

               WHEREFORE, the plaintiff demands judgment:

              (a)        : Fixing the amount due on the mortgage referred to in paragraph 2 above;

              (b)        : Barring and foreclosing the defendants and each of them of all equity of redemption in
                           and to the aforesaid lands;                                                      ·
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             (c)     Directing that plaintiff be paid the amount due to plaintiff as provided in the mortgage
                     set forth in paragraph 2 above, together with interest and costs;    ·

             (d)     Adjudging that the lands described in paragraph 3 above be sold according to law to
                     satisfy the amount due lo plaintiff on the mortgage set forth in paragraph 2 above;

             (e)     Appointing a receiver of the rents, issues and profits of the lands described in paragraph
                     3 above.




                                                SECOND COUNT

             1. By the tenns of the obligation and mortgage referred lo in paragraphs 1 and 2 of the First
                     I
       Count of this 1Complaint, the plaintiff herein is entitled to possession of the tract of land with the

       appurtenances as more particularly described in paragraph 3 of the First Count herein.

             2. On the date set forth in 2-a following, the plaintiff, by the tenns of the obligation and

       mortgage aforesaid, became entitled lo possession of the premises described in paragraph 3 ·of the

       First Count of this Complaint.

           2-a. T~e obligor has failed to make the installment payment due on 2/1/2019, and all
                    '
       payments becoming due thereafter, therefore the loan is in default.

             3. The ~efendants named in paragraph 1-b, paragraph 2 and paragraph S of the First Count of

       this Complain~ have or may claim to have certain rights in the premises described in paragraph 3 of

       the First Count of this Complaint and by reason thereof have since the date set forth in paragraph 2-a

       above deprive~ the plaintiff herein of the possession of the premises aforesaid.
         .            !                                                                           ,

             WHER]iFORE, the plaintiff demands judgment against the defendants or anyone holding

       possession under them on behalf of itself as well as the successful purchaser at the foreclosure sale:
                      !

             (a) For possession of said premises.
                         I
             (b) For damages for mesne profits.
                         I
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           (c) For costs.




                                               THIRD COUNT
         1. Plaintiff repeats the allegations contained in the First and Second Counts as if same were

            f peated as length.
             !
         2. Schedule "A" attached to the mortgage contained a scrivener's error, to wit: a scrivener's

            error \\'.as committed in the 1st course of the metes and bounds description stating distance as

             85 de~ees. Whereas, the Ist course in the metes and bounds description should state distance
                    I


            as 85 ff et.

         3. ~ched~le "A" attached to the Complaint has been corrected so as not to contain the

            aforesaid scrivener' s error.

         4. Plaintiff is entitled to hav.e said scrivener's error corrected al Final Judgment and to have

            the corrected Schedule "A" attached to the Writ of Execution and in the Deed to be issued ·

            by the Sheriff of Burlington County, subsequent to the sale of the premises by the Sheriff.

        WHlREF~RE, Plaintiff demands judgment:

            a) Correcting the scrivener's errors as aforesaid; and

            b) Allowing the corrected Schedule "A" to be attached to the Writ of Execution and the

                 Deed to be issued by the Sheriff of Burlington County; and

            c) Fo~ any relief that the Court deems necessary.


                                   STERN LA VINTHAL & FRANKENBERG LLC


                                  BY: /s/ Djibril Carr. Esq.
                                          Djibril Carr, Esq.
                    I
      DATED.:. December 13,2019
                   !

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                                            SCHEDULE "A"


                                                                                   bci1 \::i;~
            ALL THAT CERTAIN tract or parcel of land and premises situate, lying and
          TOWNSHIP OF PEMBERTON, COUNTY OF BURLINGTON and STATE 0
          JERSEY, being more particularly described as follows:




                           *SUBJECT TO THE RESULTS OF AN ACCURATE SURVEY.*



             Known and designated as Block 1102 Lot 18 on the Official Tax Map of the TOWNSHIP
         OF PEMBERTON, BURLINGTON COUNTY, NEW JERSEY
               I       I                            .

                   Com111on
                       !    Iy kn own as 232 AMHERST STREET• PEMBERTON, NEW JERSEY 08068




        201902173


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      I05 Eisenhower Parkway - Suite 302
      Roseland, NJ 07068
      (973) 797-1100
      Attorneys for Plaintiff
                  I

      Djibril <j:arr, Esq.: 118012014
      201902173

      CITIGROUP MORTGAGE LOAN TRUST                      SUPERIOR COURT OF NEW JERSEY
      INC. ASSET-BACKED PASS-THROUGH                     CHANCERY DIVISION
      CERTIFICA~ES, SERIES 2007-AMC2, U.S.               BURLINGTON COUNTY
      BANK 1'1ATJ0NAL ASSOCIATION, AS
      TRUSTEE                                            DOCKET NO.:

              I
              I
                              Plaintiff                                   CIVIL ACTION
              I

                      vs.                                 CERTIFICATION OF NO OTHER ACTION

       JOHN BARRY, JR.; MRS. JOHN BARRY,
       JR., HIS WIFE; MARIE A. BARRY; JOHN
       WESLEY DARRY; PROSPERITY UNITED
       TRUSTj; UN'TED STATES OF AMERICA;
       OCEAltl MEIDICAL CENTER; ~AMERICAN
       EXP~SS NATIONAL BANK and STATE
       OF NE}\' JERSEY

                              Defendants

      In accordance with Rule 4:5-1, I hereby certify that the matter in controversy is not the subject of any
      other Court proceeding or arbitration and that to the best of our knowledge and belief, no other parties
      need b, joine~ at this time, and that no other proceedings are contemplated.
             ,                      STERN LA VINTHAL & FRANKENBERG LLC
                                             ATTORNEYS FOR PLAINTIFF


                                          BY: /s/   Djibril Carr, Esq.
                                                    Djibril Carr, Esq.

       DATEP: December 13, 2019




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      Rose and,
              I
                NJ .07068
      (973) 797-1100
      Attorneys for Plaintiff
      Djibril Carr, Esq.: I 18012014
      201902173

       CITiqROUP MORTGAGE LOAN TRUST                         SUPERIOR COURT OF NEW JERSEY
       INC. I ASSET-BACKED PASS-THROUGH                      BURLINGTON COUNTY
       CERTIFICATES, SERIES 2007-AMC2, U.S.                  CHANCERY DIVISION
       BANK NATIONAL ASSOCIATION, AS
       TRUSTEE                                               Docket No:

                                Plaintiff                                    CIVIL ACTION

                         vs.                                     CERTIFICATION OF TITLE SEARCH

       JOHN BARRY, JR.; MRS. JOHN BARRY,
       JR., HIS WIFE; MARIE A. BARRY; JOHN
       WES1tEY BARRY; PROSPERITY UNITED
       TRUST; UNITED STATES OF AMERICA;
       OCEAN MEDICAL CENTER.; AMERICAN
       EXPRESS NATIONAL BANK and STATE
       OF NEW JERSEY

                                Defendants

             I                                                                               .
      I, THE! UNDERSIGNED, Am an Attorney at Law of New Jersey with the Law Finn of Stem
      Lavinthal & Frankenberg LLC, attorneys for the Plaintiff in the within action, and the person actually
      entrusted with the conduct and management of the case. I aver that prior to the filing of this mortgage
      foreclo~ure ccimplaint, I have received and reviewed a title search of the public record for the purpose
              I      .

      of iden~ifying any lien holder or other persons and entities with an interest in the property that is
      subject to the r'ithin foreclosure.      The effective date of the title search is 11n/2019.
            I certify that the foregoing statements made by me are true. I am aware that if any of the
      foregoing stat~ments made by me are willfully false, I am subject to punishment.
                                     STERN LA VINTHAL & FRANKENBERG LLC

                                            BY: Isl   Djibril Carr, Esq.
      DATED: December 13, 2019                        Djibril Carr, Esq.


                                                            12
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            STERN LA I
                        VJNTHAL & FRANKENBERG LLC
            I05 Eis~nhower Parkway - Suite 302
            Roseland, NJ 07068
            (973) 797-1100
            Attorneys for Plaintiff
            Djibril Carr, Esq.: 118012014
            201902173

             CITIGROUP
                    '
                         MORTGAGE
                          I
                                      LOAN TRUST
             INC. ASSET-BACKED
                          I
                                   PASS-THROUGH               SUPERIOR COURT OF NEW JERSEY
             CERTI~ICA 'f:ES, SERIES 2007-AMC2, U.S.          CHANCERY DMSJON
             BANK NATI©NAL ASSOCJATION, AS                    BURLINGTON COUNTY
             TRUSTEE
                                                              DOCKET NO.:
                                    Plaintiff
                                                                               CIVIL ACTION
                              vs.
                                                                    CERTIFICATION OF REDACTED
             JOHN BARRY, JR.; MRS. JOHN BARRY,                          PERSONAL IDENTIFIERS
             JR., HIS WIFE; MARIE A. BARRY; JOHN
             WESLEY BARRY; PROSPERITY UNITED
             TRUST; UNiTED STATES OF AMERICA;
             OCEAN MEDICAL CENTER; AMERICAN
             EXP~SS N1TIONAL BANK and STATE
             OFNE)\'JE~EY
                    :     .




                                    Defendants



            Please see the statement of Certification of Redacted Personal Identifiers contained in the attached
                    I      I


            Foreclosure }~formation Sheet (FCIS)



                          '
             DATED: Dec~mber 13, 2019


I                                                              13
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                                                                                                               -49 RANCOCAS RD,
     RECORDING INFORMATION ~ET                                                                             MT. HOU.Y,NJOI060


              INSTRUMENT
              •     I
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                    5220544                                         FEDERAL TAX LIEN'

                                              Document Cbar1e TypalFBDERAL TAX LIEN

                                              Retum Address (for rcordrd doanu,ts)
                                                      USA- INTBRNAL REVENUB
                                                      lO BOX 14559S
                     I    I                           CINCINNATI OH 45250
               TIMOTHY D. TYLER.
             BURLINOTON COUNTY
                   I     ,
               RECBIPT NUMBl!R.               No,OfPqes                                                                           1
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                  RECORDBDON                  Conddentlon AmDUat                                                          $0.00
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                     5220544
                     1                        Realty Tnwrar Fee                                                           S0.00
                                              Total AmOUDt Paid                                                          $25.00
                                              Munldplllty            UNKNOWN
                                              Parcel laform• tlon    Block: NIA

                                                                     Lot: NIA

                                              P!nt Party Name        JOHN BARRY JR.
                                              Second Party Name       INTERNAL REVENUE SER.V
                                                                 Acldltloaal IDformatlon (Official Ure Oaly)




                                                                                    Cir! Id: 54"16153 Reconilng Cleit: lcpastva
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                                        5216
      Fonn 668 (Y)(c)
      (Rev. February 20041

      Area;                                                            Serial Number
      SMALL BCJSINBSS[SBL               EMPLOYED ARBA #2                                                          CLERK           Hry
      Uen Unit Phone~ ( 800) 913-6050                                                  . •
       As provided by section 6l21, 6:122, and 6323 of t h e ~ Revenu                                   l5JfAy 3
       Code, we are givtng nodce th.at tu;es (lndudlng lnter"est and pen.aides)                                  . I MIIQ: 07
       have. been assessed .a.pin.st the folfowfng,,named taxpayer. e have ,nade
       a demand for payment . f this lbbWty, but It n:malns W1pald. Therefore,                           . £Cf/V£D
       then; Is a Oen •n f.avor of tµe United States on all property aad rights to
       property beloliBfng to t his Wq>ayer for Che amount of these wees, and
       addidonal penal es, Interest, nd costs that          acaue. may .
                                         &   MARIE BARRY JR

       Residence                  232 AMHBRST A.VB
                                  PEMBERTON, NJ 08068

          IMPORT~ RELWE .lNFO~Tl()Nt For each am1Hment lleted below,
         .uruess notice of the llen Is refiled by t ho dote given In column (el, thls notlco shell,
          on tho doy fo !owing euch dete, operate as o certlffcete of release ea defined
         In IRC 6326(& •                                           ·

                                                                              Date of            Last D~y for                   Unpaid Balante ·
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       Piece   of Filing
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                                     Burlington                                                                 i ota!     $·        J.25005. 37
                                     ~OUNT HOLLY, NJ 08060

                                                               ___ _ _ _;......MI
                                                                 DETROIT,      _ _ _ __ _ _______ , on thl s,
       Thia notice w~ pr p ed end signed at


       the.         20th day of         _____
                                          May              ,    2018


       Signature   ~ ~~ •                                                         11tfe
                                                                                  REVENUE OFFICER                                    22-03-353 1
        for ELBA y PORRATADORIA                                                   (732) 761-3388
               (NOTE! Cortlflc.oto or otflCGr authorized by Jew to teke acknowledomant Is not ouontlal to the   .dlty of Notice of FGdenl Tax Jinn
               Rev. RI.If, 71-488, 1871 • 2. c.e, 4081                                                                   Form 66ti(Y)(c) !Rev. 2-20041
                                                               Part t • Kept P y ~ Office                                           CAT, NO 600251:
 -Book # 13224 Page              1739 Inst.# 5220644
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             NOTICE PURSUANT TO N.J.S.A. 46:l0B-Sl(d)


          Reprpsenta~ive of the Plaintiff who is responsible for receiving complaints for property
   maintenance and code violations is:

                      i
                      I
                   Name:          Robin Callahan c/o Cenlar, FSB
                   Address:       425 Phillips Blvd
                      !           Ewing, NJ 08618

                   Phone No:      (609)883-3900


           In-state reP,resentative
                       I
                                    of the Plaintiff who shall be responsible for care, maintenance,
   security and upke~p of the property if it becomes vacant and abandoned is:


                      I
                   Name:          Robin Callahan c/o Cenlar, FSB
                     i
                   Address:       425 Phillips Blvd
                                  Ewing, NJ 08618

               j   PhoneNo:       (609)&83-3900
         SWC F 020437-19 01/14/2020
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                   CERTIFICATION OF DILIGENT INQUIRY TO BE ANNEXED TO
               RESIDENTIAL MORTGAGE FORECLOSURE COMPLAINTS PURSUANT
                    TO RULE 1:5-6(c)(1)(E) AND-RULE 4:64-1(a) (2) and (a) (3)

 Djibril Carr, Esq., of full age, hereby certifies and says:

 1. On 12/04/2919 and, 12/13/2019, I communicated by client interface and overnight delivery with the
 following nam~d employee(s) of CENLAR, FSB, who stated that he/she personally reviewed the complaint to
 be filed with the courtiand that he/she confirmed compliance with Rule 4:64-l(b)(l) through (b)(l0} and
 (b)(l2) through:(b)(13~.

 2. The name, title and responsibilities of the plaintifrs employee(s) or plaintiffs mortgage loan servicer's
 employee(s) with whdm I communicated are: JOHN KADIMIK, VICE PRESIDENT AND ASSISTANT
 SECRETARY, and
                 1
                      4Ho  REVIEWS PROVIDED DOCUMENTS FOR EXECUTION.

 3. The above named employee(s) stated that the relationship between his/her employer and the plaintiff is: AS
 ATTORNEY IN FACT FOR PLAINTIFF, and confirmed that his/her employer is euthorized to act on behalf
 of the plaintiff ln this action.

 4. Based on my communication with the above-named employee(s) of plaintiff or plaintifrs mortgage loan
 servicer, as well as my own inspection of the loan information supplied by the plaintiff or the plaintiffs
 mortgage loan servicer and other diligent inquiry, I execute this certification to comply with the requirements
 of Rules 1:4-8(k), I :S16(c)(l)(E}, and 4:64-l(a)(2) and (a)(3).

 5. I am aware t~at I h~ve a continuing obligation under Rule I :4-8 to amend this cerlification if a reasonable
 opportunity fo~ further investigation or discovery indicates insufficient evidentiary support for any factual
 assertions proffered by plaintiff in any court filings or documents in this case.

 I certify that the foregoing statements made by me are true, I nm aware that if any of the foregoing statements
 made by me arbI willfully false, I am subject to punishment.                                                   ·


                                  STERN LA VINTHAL & FRANKENBERG LLC

                                      BY: Isl     Djibril Carr, Esq.
                                                  Djibril Carr, Esq.

 DATED: December 13, 2019


        Unless :you notify us in writing within thirty (30) days after receipt of this letter that the
 debt, or any part df it, Is disputed, we will assume that the debt Is valid. If you do notify us In
 writing wlthir thlrtv (30) days after receipt of this letter that you dispute the debt or any part
 of it, we will pbtalf verification of the debt and mail it to you. Also upon your written request
 within thirty (30) <fays after receipt of this letter, we will provide you with the name and
 address of the original creditor If different from the current creditor. This letter Is an attempt
 to collect a qebt and any Information obtained will be used for that purpose.


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                           I      Foreclosure Case Information Statement
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     ' •., ••. :--~ ---- .• J   -·--·-·.:t.•·:,_,;; -'" ··--.~---,.; :;..-. . -- ~!. ::.:..,:.,:   .
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                                                                                                       -~·-- .,_:':.·.,...: . .. .·.• ·... .. ... ·..   .· . .·: . .   . •···   .   .   ;__ .

         Case Caption: i CITIGROUP MORTGAGE L VS                                                                          Case Type: RESIDENTIAL MORTGAGE
         BARRY, IJR. JOHN                                                                                                 FORECLOSURE
         Case Initiation!date: 12/13/2019                                                                                 Document Type: Complaint




         Name: CITIGROUP MORTGAGE LOAN TRUST                                                                               Party Type: Business
         Addres~ Line 1: 1000 TECHNOLOGY DRIVE                                                                             Corporation Type:
                           I
         Addresi Line 2:
         City: OFALLON                                                                   State: MO                           Zip: 63368                     Phone:
         Attorney Nam~: DJIBRIL ANWAR CARR                                                                       Email Address: ECOURTS@STERNLAV.COM


     U'!i'1~•~~~'ts!!"'i?·
              '
                           :~1::tr"c":':i?i:'.i'~'=·''.'?T ·• ••·1rs' ::.·•. ·,;- ? · ·• ,··· ··· •i•1
                                         '

         Name: JOHN ~ARRY, JR.                                                                                Party Type: Individual
                           !
         Addres, Line 1 :                                                                                     Corporation Type:

         Address Line 2:

         City:                                                                           State:                                Zip:                          Phone:

         Attornet Name:                                                                                                        Email Address:



         Name: ~RS. JPHN BARRY, JR., HIS WIFE                                                                 Party Type: Individual

         Addres1 Line 1 :                                                                                     Corporation Type:

         Address Line 2:

         City:                                                                           State:                                Zip:                          Phone:

         Attorney Name:                                                                                                        Email Address:



         Name: ty1ARIE                   r   BARRY                                                            Party Type: Individual
         Add res~ Line ~:                                                                                     Corporation Type:
                      :   !
         Address Line 2:

         City:                                                                            State:                               Zip:                          Phone:

         Attorney Name:                                                                                                        Email Address:
          SWC F 020437-19
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    Name: JOH~ WES~EY BARRY                      Party Type: Business
    Address Line 1: ·                            Corporation Type:

    Address Ll~e 2:
    City:                               State:          Zip:            Phone:
    Attorney Name:                                      Email Address:


    Name: PR Of PERITY UNITED TRUST              Party Type: Business
    Address Line 1 :                             Corporation Type:

    Address Lirye 2:
    City:                               State:          Zip:            Phone:
                    I
    Attorney Name:                                      Email Address :
                    I

    Name: UNl] ED Sl ATES OF AMERICA             Party Type: Business
    Address Line 1:                              Corporation Type:

    Address Line 2:
    City:                               State:          Zip:            Phone:
                i
    Attorney Name:                                      Email Address :



    Name: OCEAN MEDICAL CENTER                   Party Type: Business
              I     I
    Address Line 1:                              Corporation Type:

    Address Lir e 2:

    City:                               State:          Zip:            Phone:
              I
    Attorney Name:                                      Email Address :



    Name: AMERICAN EXPRESS NATIONAL BANK         Party Type: Business
                I
    Address Line 1:                              Corporation Type:

    Address Lire 2:
    City:                               State:          Zip:            Phone:

    Attorney Name:                                      Email Address :
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    Name: STATE OF NEW JERSEY                              Party Type: Business
    Address Line 1:                                        Corporation Type:
    Address Line 2:
    City:                                      State: NJ           Zip:            Phone:
    Attorney Name:                                                 Email Address:




    Property Address: 232 AMHERST ST                 County: BURLINGTON
    Municipality: PEMBERTON 1WP                      Block: 1102               Lot: 18
    Zip: 08068


   I certify that confidential personal identifiers have been redacted from documents now submitted to the
   court, and will be redacted from all documents submitted In the future in accordance with Rule 1:38-7(b}


   12/13/2019                                                                     /s/ DJIBRIL ANWAR CARR
   Dated                                                                                              Signed
Case 1:20-cv-00699-RBK-KMW Document 1-2 Filed 01/21/20 Page 23 of 24 PageID: 31



                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

  CITIGROUP MORTGAGE LOAN TRUST INC.
  ASSET-BACKED PASS-THROUGH                                                Case No:. _ _ _ _ _ _(' -_~)
  CERTIFICATES, SERIES 2007-AMC2, U.S.
  BANK NATIONAL ASSOCIATION, AS                                             AFFIDAVIT IN SUPPORT OF
  TRUSTEE                                                                     NOTICE OF REMOVAL
                                                                              TO FEDERAL COURT
                                        Plaintiff,                                PURSUANT TO
                                                                              28 u.s.c. §§ 1441 & 1446
                            -against-
                                                                            [PREVIOUSLY PENDING IN THE
  John Barry, Jr.; Mrs. John Barry, Jr. His Wife;                          SUPERIOR COURT OF NEW JERSEY
  Marie A. Barry; John Wesley Barry; Prosperity                               CHANCERY DIVISION FOR
  United Trust; UNITED STATES OF AMERICA;                                       BURLINGTON COUNTY
  OCEAN MEDICAL CENTER; AMERICAN                                              DOCKET NO.: F-020437-19]
  EXPRESS NATIONAL BANK and STATE OF
  NEW JERSEY,
                                                                                 JANUARY 21, 2020
                                        Defendant(s).


                                                     VERIFICATION

 New Jersey State                                                   }
                                                                    }ss:
 =B...::;:u=rl=in=gt=o=n::....C=-o=u=n=ty,_____ _ _ _ _ _ _ _ _ _ _ }

          I, John Wesley Barry, hereby verify that following statements are true and correct to the

 best of my knowledge and belief.

          1.    I am of the age of majority, I am a natural man on the land who is an American

               National/Civilian, not a United States Citizen, and I have personal firsthand

               knowledge of the statements made by me in the foregoing Notice of Removal from

               the New Jersey State Superior Court to the federal District Court for the District of

               New Jersey.

          2. I affirm under penalty of perjury under the laws of the Constitution for the United of

               America as well as the New Jersey State Constitution per 28 U.S.C. § 1746.


                                                             10
Case 1:20-cv-00699-RBK-KMW Document 1-2 Filed 01/21/20 Page 24 of 24 PageID: 32




       e and Ascribed Before Me This
                     2020.
                                                    JASON z BOWEN
                                                       .            f New Jersey
                                            Notary Public - Sta~e o      26 2023
                                            My Commission Expires Oct      •




                                       11
